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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                             DISTRICT OF COLUMBIA

ABDELLAH YOUSSOUFI, a U.S. Citizen,

  6006 N. Austin Ave - Unit 2E                Case No. ​1:19-cv-1866
  Chicago, Il 60646

     Plaintiff,

v.

UNITED STATES DEPARTMENT OF
HOMELAND SECURITY,

Serve: Office of the General Counsel
       Department of Homeland Security
       Mail Stop 3650
       Washington, D.C. 20528

UNITED STATES CITIZENSHIP AND
IMMIGRATION SERVICES,

Serve: U.S. Citizenship & Immigration
       Services
       425 I. Street, N.W., Room 6100
       Washington, D.C. 20536

UNITED STATES DEPARTMENT OF
STATE,

Serve: Executive Office
       Office of the Legal Adviser
       Suite 5.600
       600 19th St. NW
       Washington, DC 20522

U.S. CONSULATE, Casablanca, Morocco,

Serve: Executive Office
       Office of the Legal Adviser
       Suite 5.600
       600 19th St. NW
       Washington, DC 20522
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KEVIN MCALEENAN, Secretary of the
Department of Homeland Security,

Serve: Office of the General Counsel
       Department of Homeland Security
       Mail Stop 3650
       Washington, D.C. 20528

L. FRANCIS CISSNA, Director of the United
States Citizenship and Immigration Services,

Serve: U.S. Citizenship & Immigration
       Services
       425 I. Street, N.W., Room 6100
       Washington, D.C. 20536

MICHAEL POMPEO, United States Secretary
of State,

Serve: Executive Office
       Office of the Legal Adviser
       Suite 5.600
       600 19th St. NW
       Washington, DC 20522

and;

JENNIFER RASAMIMANANA, Consul
General​, Consul General of the United States at
the U.S. Consulate, Casablanca, Morocco

Serve: Executive Office
       Office of the Legal Adviser
       Suite 5.600
       600 19th St. NW
       Washington, DC 20522

  Defendants.


 COMPLAINT IN THE NATURE OF MANDAMUS ARISING FROM DEFENDANTS’
  REFUSAL TO ADJUDICATE PLAINTIFF’S IMMIGRANT VISA APPLICATION

       Plaintiff Abdellah Youssoufi respectfully requests that this Honorable Court issue a writ


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of mandamus compelling Defendants to adjudicate a long-delayed spouse visa application.

                                             PARTIES


   1. Plaintiff Abdellah Youssoufi is a citizen of the United States.

   2. Plaintiff’s spouse Habiba El Aggadi is a citizen of Morocco, currently residing in

Morocco.

   3. Defendant Department of Homeland Security (hereinafter sometimes referred to as “the

DHS”) is the agency of the United States that is responsible for implementing the petition for

alien relative provisions of the law and assisting the DOS with background and security checks.

   4. Defendant United States Citizenship and Immigration Services (hereinafter sometimes

referred to as “the USCIS”) is the component of the DHS that is responsible for processing

petitions filed on behalf of alien relatives seeking to file spouse visa applications.

   5. Defendant Department of State (hereinafter sometimes referred to as “the DOS”) is the

agency of the United States that is responsible for communicating with the DHS and managing

Defendant Embassy of the United States in Casablanca, Morocco, and which is responsible for

implementing the immigrant visa provisions of the law.

   6. Defendant Embassy of the United States in Casablanca, Morocco (hereinafter sometimes

referred to as “the Casablanca Embassy”) is a component of the DOS that is responsible for

processing immigrant visa applications and implementing the immigrant and non-immigrant visa

provisions of the law.

   7. Defendant Kevin McAleenan, the Secretary of the DHS, is the highest ranking official

within the DHS. McAleenan, by and through his agency for the DHS, is responsible for the

implementation of the Immigration and Nationality Act (hereinafter sometimes referred to as


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“the INA”), and for ensuring compliance with applicable federal law, including the

Administrative Procedures Act (hereinafter sometimes referred to as “the APA”). Nielsen is

sued in his official capacity as an agent of the government of the United States.

    8. Defendant L. Francis Cissna, Director of the USCIS, is the highest ranking official within

the USCIS. Cissna is responsible for the implantation of the INA and for ensuring compliance

with all applicable federal laws, including the APA. Cissna is sued in his official capacity as an

agent of the government of the United States.

    9. Defendant Michael Pompeo, the U.S. Secretary of State, is the highest ranking official

within the DOS. Pompeo is responsible for the implementation of the INA and for ensuring

compliance with applicable federal laws, including the APA. Pompeo is sued in his official

capacity as an agent of the government of the United States.

    10. Defendant ​JENNIFER RASAMIMANANA, Consul General is the Consul General of the

Consulate of the United States in Casablanca, Morocco. ​They are ​being sued in an official

capacity as an agent of the government of the United States.

                                     JURISDICTION AND VENUE

    11. This Honorable Court has federal question jurisdiction over this cause pursuant to 28

U.S.C. § 1331, as it raises claims under the Constitution of the United States, the INA, 8 U.S.C.

§ 1101 et seq., and the APA, 5 U.S.C. § 701 et seq, in conjunction with the Mandamus Act, ​28

USC ​§ ​1361​.

    12. Venue is proper pursuant to 28 U.S.C. § 1391(e)(1) because (1) Defendants are agencies

of the United States or officers or employees thereof acting in their official capacity or under

color of legal authority; (2) no real property is involved in this action, and; (3) the Defendants all



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maintain offices within this district.

    13. This Honorable Court is competent to adjudicate this case, notwithstanding the doctrine

of consular non-reviewability, ​see United States ex rel. Knauff v. Shaughnessy​, 338 U.S. 537

(1950), because Defendants have not made any decision in regard to Habiba El Aggadi’s visa

application.


                       FACTS COMMON TO ALL CLAIMS FOR RELIEF


    14. Abdellah Youssoufi is the spouse of Habiba El Aggadi and is the spouse visa petitioner

for Habiba El Aggadi’s immigrant visa application.

    15. Under federal immigration law, USCIS is authorized to approve a spouse visa application

filed by a U.S. citizen and to issue an immigrant visa to allow the spouse to enter the U.S. and

obtain lawful permanent resident status.

    16. Habiba El Aggadi is a citizen of Morocco. Morocco is a predominantly Muslim country.

    17. Abdellah Youssoufi filed a visa petition for his spouse with the USCIS on April 04 2017.

    18. Plaintiff paid, and Defendants accepted, all applicable filing and visa fees.

    19. USCIS purportedly approved Plaintiff’s I-129 fiance visa petition on ​June 26 2019​.

    20. The case should have then been sent to the National Visa Center (NVC), a part of the

U.S. Department of State for visa processing.               The NVC assigned Case Number

CSB2017636003 to this case. Upon information and belief, the NVC completed its processing

of the case and sent it to the U.S. consulate in Casablanca, Morocco for an interview.

    21. The State Department conducted ​Habiba El Aggadi’s visa interview on or about ​March

20 2018​. Since that time, the agency has refused to issue a decision on this case.

    22. Abdellah Youssoufi has made repeated attempts to obtain a decision in this matter

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without involving this honorable Court. Plaintiff has contacted the consulate multiple times.

This has led nowhere.

                              FIRST CLAIM FOR RELIEF
              (Agency Action Unlawfully Withheld and Unreasonably Delayed)

   For their first claim for relief against all Defendants, Plaintiff alleges and states as follows:

   23. Plaintiff realleges and incorporates by reference the foregoing paragraphs as though fully

set out herein.

   24. The APA requires that “[w]ith due regard for the convenience and necessity of the parties

or their representatives and within a reasonable time, each agency shall proceed to conclude a

matter presented to it.” 5 U.S.C. § 555(b). Section 555(b) creates a non-discretionary duty to

conclude agency matters. ​Litton Microwave Cooking Prods. v. NLRB​, 949 F.2d 249, 253 (8th

Cir. 1991). A violation of this duty is a sufficient basis for mandamus relief.

   25. The APA permits this Honorable Court to “compel agency action unlawfully withheld or

unreasonably delayed.” 5 U.S.C. § 706(1).

   26. The Defendants have refused to adjudicate Plaintiff’s application and to issue the

requested visa application.

   27. The DOS regularly works with the DHS when carrying out background and security

investigations that are delayed by administrative processing.

   28. The DHS has a policy, known as the “Controlled Application Review and Resolution

Program” (hereinafter sometimes referred to as “the CARRP”) that intentionally delays the

applications of applicants such as El Aggadi due to security concerns.

   29. On information and belief, Plaintiff alleges that the Defendants are intentionally delaying

a response to the DOS in regard to Habiba El Aggadi’s visa application pursuant to the CARRP


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program. Plaintiff alleges that this delay is due to Habiba El Aggadi being from a predominantly

Muslim country.

   30. Upon information and belief, Plaintiff alleges that the USCIS and the DOS are and have

been complicit in the delay in processing Habiba El Aggadi’s visa application.

   31. Since 2008, the Defendants have used CARRP—an internal policy that has neither been

approved by Congress nor subjected to public notice and comment—to investigate and

adjudicate applications deemed to present potential “national security concerns.” CARRP

prohibits USCIS field officers from approving an application with a potential “national security

concern,” instead directing officers to deny the application or delay adjudication—often

indefinitely—in violation of the INA.

   32. CARRP’s definition of “national security concern” is far more expansive than the

security-related ineligibility criteria for immigration applications set forth by Congress in the

INA. Rather, CARRP identifies “national security concerns” based on deeply-flawed and

expansive government watchlists, and other vague and overbroad criteria that bear little, if any,

relation to the security-related statutory ineligibility criteria. The CARRP definition casts a net so

wide that it brands innocent, law-abiding residents, like Habiba El Aggadi—none of whom pose

a security threat—as “national security concerns” on account of innocuous activity and

associations, and characteristics such as national origin.

   33. Although the total number of people subject to CARRP is not known, USCIS data reveals

that between FY2008 and FY2012, more than 19,000 people from twenty-one Muslim-majority

countries or regions were subjected to CARRP.

   34. Plaintiff alleges that Habiba El Aggadi’s application has been in administrative



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processing beyond a reasonable time period for completing administrative processing of her visa

application.

    35. The combined delay and failure to act on Habiba El Aggadi’s immigrant visa application

is attributable to the failure of Defendants to adhere to their legal duty to avoid unreasonable

delays under the INA and the applicable rules and regulations.

    36. There are no alternative adequate or reasonable forms of relief available to Plaintiff.

    37. Plaintiff has exhausted all available administrative remedies in pursuit of a resolution of

this matter, including repeatedly requesting the processing of their case.

                               SECOND CLAIM FOR RELIEF
                           (Violation of Right to Due Process of Law)

    For their second claim for relief against all Defendants, Plaintiff alleges and states as follows:

    38. Plaintiff realleges and incorporates by reference the foregoing paragraphs as though fully

set out herein.

    39. The right to fundamental fairness in administrative adjudication is protected by the Due

Process Clause of the Fifth Amendment to the United States Constitution. Plaintiff may seek

redress in this Court for Defendants’ combined failures to provide a reasonable and just

framework of adjudication in accordance with applicable law.

    40. The combined delay and failure to act by Defendants has violated the due process rights

of Plaintiff.

    41. The combined delay and failure to act by Defendants has irrevocably harmed Plaintiff by

causing a loss of consortium between Plaintiff and Habiba El Aggadi, among other ways.

                                        REQUEST FOR RELIEF

        WHEREFORE, Plaintiff Abdellah Youssoufi requests the following relief:


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   1. That this Honorable Court assume jurisdiction over this action;

   2. Enter a judgment declaring that (a) CARRP violates the INA and its implementing

regulations; Article 1, Section 8, Clause 4 of the United States Constitution; the Fifth

Amendment to the United States Constitution; and the APA; and (b) Defendants violated the

APA by adopting CARRP without promulgating a rule and following the process for notice and

comment by the public;

   3. Enjoin Defendants, their subordinates, agents, employees, and all others acting in concert

with them from applying CARRP to the processing and adjudication of Plaintiff’s immigration

benefit applications;

   4. Order Defendants to rescind CARRP because they failed to follow the process for notice

and comment by the public;

   5. That this Honorable Court issue a writ of mandamus compelling Defendants to promptly

complete all administrative processing within sixty days;

   6. That this Honorable Court take jurisdiction of this matter and adjudicate Habiba El

Aggadi’s immigrant visa pursuant to this Court’s declaratory judgment authority;

   7.   That this Honorable Court issue a writ of mandamus compelling Defendants to issue an

immigrant visa to Habiba El Aggadi;

   8. That this Honorable Court issue a writ of mandamus compelling Defendants to explain to

Plaintiff the cause and nature of the delay and inform Plaintiff of any action that may be taken to

accelerate processing of the visa application;

   9. Attorney’s fees, legal interests, and costs expended herein, pursuant to the Equal Access

to Justice Act, 28 U.S.C. § 2412;



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10. Such other and further relief as this Honorable Court may deem just and proper.



                                                         RESPECTFULLY SUBMITTED
                                                                       June 25 2019


                                                                  /s/ James O. Hacking, III
                                                                       James O. Hacking, III
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